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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   1/11/2021
                                                                       :
IDEAL INDUSTRIES LIGHTING LLC d/b/a CREE                               :
LIGHTING,                                                              :
                                                                       :
                                    Plaintiff,                         :       20-cv-5424 (LJL)
                                                                       :
                  -v-                                                  :            ORDER
                                                                       :
RAB LIGHTING INC.,                                                     :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        On September 1, 2020, the Court stayed this action pursuant to 28 U.S.C. § 1659 and

directed the parties to file a joint letter as to the status of the proceeding with the U.S.

International Trade Commission every four (4) months. That joint status letter was due on

January 1, 2021, but the parties did not file the letter.

        It is HEREBY ORDERED that the parties shall file the joint status letter by January 18,

2021.


        SO ORDERED.


Dated: January 11, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
